                        Case 4:23-cv-05624-KAW Document 5 Filed 11/01/23 Page 1 of 6

Pro Sc 2(Rev. 12 16)Complaint and RcquesI for Injunction




                                       United States District Court                                               nov o 12023
                                                                        for the
                                                                                                            CLERK, U.S. DISTRICT COURT
                                                           Nortlicm District of California                NORTH DISTRICT OF CALIFORNIA

                                                                    Civil Division


                      Carlos Dario Wilson
                                                                                  Case No.   23CV5624KAW
                                                                                             (to befiled in by the Clerk's Office)

                              Plahitifffs)
(Write thefull name ofeach plamtijfwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotJit in the space above,
please write "see attached"in the space and attach an additional
page with thefidl list ofnames.)
                                 -V-



   Mlchaei D Kerwin, Sufi Tahbazof-Hariri, agent for
Atlas Property Group, LLC, 345 6th LLC, 363 6th, LLC
           And H22 LLC, agent John O'Connor
                   And Does 1 -200
                            Defendanl(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotfit in the space above, please
wiite "see attached" in the space and attach an additional page
                                                                                                                                     f
with thefull list ofnames.)



                                   COMPLAINT AND REQUEST FOR INJUNCTION


I.        The Parties to This Complaint
          A.        The PIaintiff(s)

                    Provide tlie information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.

                                Name                               Carlos D Wilson
                                Street Address                     345 6th street apt 202
                                Cit>" and Count\'                  San Francisco, San Francisco
                                State and Zip Code                 CA

                               Telephone Number                    4157079700

                                E-mail Address                     Carloswiisonsf@gmail.com


          B.        The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a govemment agency, an organization, or a corporation. For an individual defendant,
                    include the person'sjob or title (ifknown). Attach additional pages if needed.
                           Case 4:23-cv-05624-KAW Document 5 Filed 11/01/23 Page 2 of 6

Fro Sc 2(Rev. 12 16) C'oniplainl and Rcc|iicsl for Injiinciion


                       Defendant No. 1

                                  Name                           Sufi Tahbazof, agent for 345 6th, LLC
                                  Job or Title (ifhimm)          Process service POO
                                  Street Address                 5051 Mission Street
                                  Cit}' and Count\-              San Francisco
                                  State and Zip Code             CA 94112
                                  Telephone Number
                                  E-mail Address (ifknown)


                       Defendant No.2

                                  Name                           H22, LLC, John O'Connor
                                  Job or Title (ifknown)         Process service POC
                                  Street Address                 49 Rockaway ave
                                  Cit\ and Count)                San Francisco
                                  State and Zip Code             CA 94127

                                  Telephone Number
                                  E-mail Address (ifknown)


                       Defendant No. 3

                                  Name                           363 6th, LLC, Sufi Tahbazof
                                  Job or Title (ifknown)         Process service POC
                                   Street Address                5051 MISSION ST
                                  City and Count)'               SF
                                  State and Zip Code             CA 94112
                                  Telephone Number
                                  E-mail Address (ifkno\m)


                       Defendant No.4

                                  Name                           ATLAS PROPERTY GROUP, LLC Sufi Tahbazof
                                  Job or Title (ifknown)         Process service POC
                                  Street Address                 5051 Mission Street
                                  Cit\' and Count)'              SF

                                  State and Zip Code             CA94112
                                  Telephone Number
                                  E-mail Address (ifknown)
                          Case 4:23-cv-05624-KAW Document 5 Filed 11/01/23 Page 3 of 6

Pro Se 2(Rev. 12^16) Complaint and Rcciucsl for Injunction


II.       Basis for Jurisdiction


          Federal courts are courts of limited jurisdiction (limited power). Generally, only two tvpcs of cases can be
          heard in federal court; cases involving a federal question and cases involving divcrsit>' of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity' of citizenship case. In a
          diversity ofcitizenship case, no defendant may be a citizen ofthe same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                 0Federal question                                    Diversit}'of citizenship

          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of tlic United States Constitution that
                     are at issue in this case.
                      Section 1348, title 18 - Fraud
                      TVPRA 2003 - Human Traffickiing
                      11.432 - Impersonating Officers of the law
                      Toil-Ttaeft
          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name) NA                                            ,is a citizen ofthe
                                           State of(name) NA


                                b.         Ifthe plaintiff is a corporation
                                           The plaintiff, (name) NA                                            ,is incorporated
                                           under the laws of the State of(name)   NA

                                           and has its principal place of business in the State of(name)
                                           NA



                               (Ifmore than one plaintiffis named in the complaint, attach an additional page providing the
                               same informationfor each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         Ifthe defendant is an individual

                                           The defendant, (name) nA                                             - is a citizen of
                                          the State of(namei NA                                            - Or is a citizen of
                                           (jbreign nation)
                          Case 4:23-cv-05624-KAW Document 5 Filed 11/01/23 Page 4 of 6

Pro Se 2(Rev. 12'16)Complaint and Request For Iniunction




                               b.        Ifthe defendant is a corporation
                                         The defendant, (name)                                            ,is incorporated under
                                         the laws oftlie State of(name)                                             ,and has its
                                         principal place of business in the State of(name)
                                         Or is incorporated under the laws of(forei^i nation)
                                         and has its principal place of business in (name)

                               (Ifmore than one defendant is named in the complaint, attach an additional page providing the
                               same informationfor each additional defendant.)

                     3.        The Amount in Controversy

                               The amount in controvers>'-the amount the plaintiffclaims the defendant ow-es or the amount at
                               stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                >$100M because the have deprived me of my freedom and slaved me under a regime of
                                Human Trafficking for 7+ years - beginning just as I completed my studies at UC Berkeley
                                ready to take on the world. During these years they have conspired to murder my mother and
                                brother, to steal their estates and annuities, stolen my farm business, tortured me out of two



III.      Statement of Claim


          Write a short and plain statement ofthe claim. Do not make legal arguments. State as briefly as possible the
          fects showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff hann or violated the plaintiffs rights-
          including the dates and places oftliat involvement or conduct. If more tlian one claim is asserted, number each
          claim and write a short and plain statement ofeach claim in a separate paragraph. Attach additional pages if
          needed.


          A.         Where did the events giving rise to your claim(s) occur?
                     San Francisco, CA, Columbus, Ohio and 14 states between as I traveled across the US.




          B.         What date and approximate time did the events giving rise to your claim(s) occur?
                      It's difficult to pinpoint a moment in time, but the most egregious trafficking activity began with the
                      murder of my youngest brother, Brian, likely in 2013 in Columbus,then my Mother about a year later.
                         Case 4:23-cv-05624-KAW Document 5 Filed 11/01/23 Page 5 of 6

Pro Sc 2(Rev. 12 16) Complainl and Rogucsl for Injuiiclioii


          C.          What are the facts underKing your claim(s)? (For example: What happened toyou? Who did what?
                      ll'as anyone else involved? If'ho else .wir what happened?)
                      Since the double homicides of my family, those who conspired to hurt them have taken hold of an
                      annuity fund and their estates. In order to hide these facts from me,they began to stalk and harass me
                      then traffick me for labor, sex and experimentation.

                      They continue these activities daily even now as i type.




IV.       Irreparable Injury

          Explain wh\' monetaiy damages at a later time would not adequately compensate you for the injuries you
          sustained, arc sustaining, or will sustain as a result of the events described above, or why such compensation
          could not be measured.
          As their attacks are ongoing, simply awarding money does not seem likely to stop them from their incorrigible
          natures. No amount of reason seems to shake them from their egregiousness. I beg of the court injunctive relief.




V.        Relief


          State briefly and precisely what damages or other relief the plaintiffasks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis forthese amounts. Include am-
          punitive ore.xemplaiy damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive mone\- damages.
         Emergency Preliminary Injunctions, A freeze on all financial assets, a "Stay away" order and the immediate return
         of my the funds needed to take care of myself in terms of food, shelter, utilities and medical care which they
         unlawfully and without due process nor medical authority have taken hostage.

          Finally, please order the immediate return of my ADA-approve service animal(s) - a black cat named Shadow.
                           Case 4:23-cv-05624-KAW Document 5 Filed 11/01/23 Page 6 of 6

Pro Se 2(Rc\'. 12 16) Conipiainl aiid Rccjucst for liijunciion




VI.        Certification and Closins

           Under Federal Rule of Civil Procedure 1K by signing below, I certify to the best of my knowledge, information,
           and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
           unnecessaiy delay, or needlessly increase the cost oflitigation;(2)is supported by existing law or by a
           nonfrivolous argument for extending, modify ing, or reversing existing law;(3) the factual contentions have
           evidentiary- support or. ifspecifically so identified, will likely have evidentiary support after a reasonable
           opportunity for further investigation or discovery: and (4)the complaint otherwise complies witlr the
           requirements of Rule 11.

           A.          For Parties Without an Attorney

                       I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                       served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                       in the dismissal of m\- case.


                       Date ofsigning:                           11/01/g023

                       Signature of Plaintiff
                       Printed Name ofPlaintiff                  Callos Dario Wilson


           B.          For Attorneys

                       Date of signing:


                       Signature of Attorney-
                       Printed Name of Attorney
                       Bar Number

                       Name of Law Firm

                       Street Address

                       State and Zip Code
                       Telephone Number
                       E-mail Address
